
In re International Marine Underwrt.; St. Paul Fire &amp; Marine Ins. Co.; Certain Underwriters at Lloyds; Institute of London Underwrt.; Royal Insurance Co.; BGH Syndicate, Inc.; Miami Savings Insurance Synd.; First Intercontinental Ins. Synd.; International Marine Underwrt.; U.S. Fire Insurance Co.; — Defendant(s); applying for writ of certiorari and/or review; to the Court of Appeal, First Circuit, No. CA92 0985; Parish of St. Mary, 16th Judicial District Court, Div. “C”, No. 78,597.
Denied.
MARCUS, J., not on panel.
